    Case:19-02465-ESL13 Doc#:25 Filed:06/26/19 Entered:06/26/19 14:15:46                                                            Desc: Main
                        IN THE UNITED STATES BANKRUPTCY
                                  Document   Page 1 of 1 COURT
                                                FOR THE DISTRICT OF PUERTO RICO

IN RE:

SANDRO FUENTES GARCIA                                                                        CASE NO. 19-02465-ESL
                                                                                             CHAPTER 13
   DEBTOR(S)


                                                  TRUSTEE'S REPORT ON CONFIRMATION
1. The applicable commitment period is: 5 years

2. The liquidation value of the estate is $: 0.00

3. The general unsecured pool is $: 0



               AMENDED PLAN DATE: June 21, 2019                                               PLAN BASE: $54,612.00

TRUSTEE'S COMMENTS AND RECOMENDATIONS DATED: 6/26/2019
                            FAVORABLE                                                             X UNFAVORABLE
  1. [X] INSUFFICIENTLY FUNDED § 1325(b):

 Sufficiency of the plan will depends on outcome of debtor's objection to claim 5 -1 by ASUME. If prevails plan
may be sufficient.




  [X] OTHER:

  1) Secured creditor BPPR filed claim 4 -1 without evidence of endorsement Trustee suggest the following
language to be included in part 8 of the plan: Part 3.1 of the plan proposes that mortgage arrearage in favor of
BPPR will be paid by the Trustee. Claim No.4 -1 was filed by creditor or on its behalf, without evidence of
endorsement. Debtor(s), however, authorize(s) Trustee to make payment to such claim. Upon confirmation of
the plan, Debtor(s), on his behalf and on behalf of the estate, hereby hold the Chapter 13 Trustee harmless of,
and forever waive any claims for legal or financial liability for payment of arrears included in the above
mentioned claim to the party in interest, or to its future assignee’s properly notified during the period of the
plan, notwithstanding that such claim is filed without evidence of endorsement of the mortgage note. 2) Part
8.2 provides lift of stay to First Bank claim 3 -1, however, does not include additional language to instructs
Trustee to not make any distribution as secured unless a defficiency claim is filed.


NOTICE: This report anticipates Trustee’s position as per 11 USC § 1302(b)(2) a copy of which has been served upon counsel for debtor(s). Copies
    are available to parties in interest at the Trustee’s Office.

                                                                                        /s/ Osmarie Navarro Martínez
                                                                                        Osmarie Navarro Martínez
Atty: MELISSA COFAN HERNANDEZ                                                           USDC # 222611
                                                                                         ALEJANDRO OLIVERAS RIVERA
                                                                                         Chapter 13 Trustee
                                                                                         PO Box 9024062, Old San Juan Station
                                                                                         San Juan PR 00902-4062
                                                                                        CMC - WG
